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                   THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                        )                            4:08CR3148-3
                        )
            Plaintiff,  )
                        )
     vs.                )                            MEMORANDUM
                        )                            AND ORDER
LEONARD LAUTENSCHLAGER, )
III,                    )
                        )
            Defendant.  )

      After consultation with counsel, the evidentiary hearing and sentencing set for
12:30 p.m. today shall be continued due to the defendant’s inability to attend the
hearing because of weather conditions. My judicial assistant shall contact counsel
upon her return to the office after the holidays to reschedule the evidentiary hearing
and sentencing.

      IT IS ORDERED:

      1.     The evidentiary hearing and sentencing set for 12:30 p.m. today in the
             above-captioned matter is continued until further order of the court;

      2.     The judicial assistant to the undersigned United States district judge
             shall contact the parties at a later date to reschedule this matter.

      DATED this 23rd day of December, 2009.

                                       BY THE COURT:
                                       s/ Richard G. Kopf
                                       United States District Judge
